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 7                        UNITED STATES DISTRICT COURT
 8                       SOUTHERN DISTRICT OF CALIFORNIA
 9
10 UNITED STATES OF AMERICA,                    Case No.: 18-mj-3038-JLB-WQH
11          Plaintiff,
      v.                                        JUDGMENT and ORDER
12
13 JESUS ELIAS VILLA-TERAN,
14          Defendant.
15
16         On the Government’s motion, and for good cause shown, the conviction in the
17 above case is vacated and the charge dismissed without prejudice.
18         IT IS SO ORDERED.
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20    Dated: April 20, 2020
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